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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                            )
                                                    )
               v.                                   )
                                                    )       Docket No. 17-40049-TSH
ENRI NEMIAS VEGA,                                   )
                                                    )
                      Defendant.                    )


                MEMORANDUM PURSUANT TO LOCAL RULE 116.5(a)

       The United States of America, through Assistant United States Attorney Greg A.

Friedholm, hereby submits this memorandum addressing Local Rule 116.5(a).

I.     Local Rule 116.5(a)(1)

       On November 11, 2017, at the time of the defendant’s initial appearance, the government

produced automatic discovery as required by Fed. R. Crim. P. 16 and Rules 116.1(c) and 116.2

of the Local Rules of the United States District Court for the District of Massachusetts. The

government is not aware of any additional outstanding automatic discovery, but should the

government become aware of any such discovery, it will immediately disclose such to defense

counsel.

II.    Local Rule 116.5(a)(2)

       The government will provide discovery in response to any future request(s) according to

the local rules and pursuant to the Federal Criminal Rules of Criminal Procedure, including any

supplemental discovery if any additional materials are obtained.

III.   Local Rule 116.5(a)(3)

       The government and the defendant are presently engaged in discussions to resolve this

matter by plea in the near future. Accordingly, the government requests an additional 14 days to
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afford defense counsel an opportunity to review the proposed plea agreement with the defendant.

IV.    Local Rule 116.5(a)(4)

       At this time, the government is not seeking any protective orders to prevent the disclosure

or dissemination of sensitive information concerning victims, witnesses, defendants, or law

enforcement sources or techniques. The parties reserve the right to seek such orders in the

future, should the need arise.

V.     Local Rule 116.5(a)(5)

       The government states that it is too early to set a motion schedule under Fed. R. Crim. P.

12(b) and requests that a motion date under Fed. R. Crim. P. 12(c), if necessary, be set at the next

status conference.

VI.    Local Rule 116.5(a)(6)

       The government proposes that expert disclosures for the government, if any, be due 45

days before trial and that the defendant’s expert disclosures, if any, be due 21 days before trial.

VII.   Local Rule 116.5(a)(7)

       The government asserts that the period from the defendant’s initial appearance and

arraignment on November 3, 2017 until December 1, 2017, the date set for the initial status

conference, was properly excluded by this Court’s order on excludable delay. The government

further requests that the period between December 1, 2017, and the next status conference be

excluded because the parties have been and are using the period of the continuance to continue

the negotiations to resolve the matter short of trial. Therefore, the government requests that this

Court find that the ends of justice served by excluding the period of this continuance outweigh

the best interest of the public and the defendant in a speedy trial, pursuant to 18 U.S.C. '

3161(h)(7)(A).
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VIII. Local Rule 116.5(a)(8)

       The government requests that an interim status conference date be established

approximately 21 days in the future.



                                              Respectfully submitted,

                                              WILLIAM D. WEINREB
                                              ACTING UNITED STATES ATTORNEY

                                        By: /s/ Greg A. Friedholm
                                            Greg. A. Friedholm
                                            Assistant United States Attorney
                                            595 Main Street
                                            Worcester, Massachusetts 01608

Date: December 1, 2017




                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                              /s/ Greg A. Friedholm
                                              Greg A. Friedholm
                                              Assistant U.S. Attorney
Date: December 1, 2017
